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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

BRADLEY MILLER, KAYLA      )
KILPATRICK and BLAKE BUMANN,
                           )
                           )
      Plaintiff,           )
                           )
vs.                        )                         Case No. 3:23-cv-02597-JPG
                           )
ST. CLAIR COUNTY EMERGENCY )
MANAGEMENT ADMINISTRATION, )
                           )
      Defendant.           )                         JURY TRIAL DEMANDED

     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
       OR, ALTERNATIVELY, MOTION FOR MORE DEFINITE STATEMENT
                AND MEMORANDUM IN SUPPORT THEREOF

        Comes now Defendant, St. Clair County Emergency Management Administration, by

and through its attorneys, Becker, Hoerner & Ysursa, P.C., and, and for its Motion to Dismiss

Plaintiffs’ Amended Complaint or, Alternatively, Motion for More Definite Statement and

Memorandum in Support Thereof, pursuant to Federal Rules of Civil Procedure 12(b)(1),

12(b)(2), 12(b)(6) and 12(e), and Local Rule 7.1(c), states as follows:

                                        BACKGROUND1

        On July 27, 2023, Plaintiffs filed their two-count Amended Complaint in the above-

captioned matter, asserting claims against Defendant relating to alleged unpaid overtime

premium pay in violation of the Federal Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et

seq., in Count I and the Illinois Minimum Wage Law (IMWL), 820 ILCS 105/1 et seq., in Count

II. Essentially, Plaintiffs’ Amended Complaint contends that Defendant violated § 207(a)(1) of

the FLSA and § 4a of the IMWL as follows:



1
 In addition to factual allegations contained in Plaintiffs’ Amended Complaint, Defendant cites
facts contained in documents of which this Court may take judicial notice as public records
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       •       “During the relevant period, Defendant willfully failed to pay Plaintiffs and all

               similarly situated employees an overtime premium for their hours worked over

               forty in a given workweek” (see Doc. 5, ¶ 61) – instead, “[d]uring the relevant

               period, Defendants only paid Plaintiffs, and all similarly situated employees, an

               overtime premium for hours worked over eighty in a given pay period” (see Doc.

               5, ¶ 62); and

       •       “Throughout the relevant period, Defendant automatically deducted a half-hour

               from Plaintiffs and similarly situated employees’ hours worked, even when they

               had not been able to take a half-hour break” (see Doc. 5, ¶ 63), and “[o]n

               numerous occasions, when Plaintiffs requested that Defendant correct these

               inaccurate deductions, Defendant refused or failed to do so” (see Doc. 5, ¶ 64)

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(b)(1), a court must dismiss a claim over which

it lacks subject-matter jurisdiction. Fed. R. Civ. P. 12(b)(1). A defendant makes a facial attack

on subject-matter jurisdiction when it asserts that the plaintiff's allegations, taken as true, don't

support an inference that subject-matter jurisdiction exists. Bazile v. Fin. Sys. of Green Bay, Inc.,

983 F.3d 274, 279 (7th Cir. 2020). Facial challenges require a court to “look to the complaint

and see if the plaintiff has sufficiently alleged a basis of subject matter jurisdiction” whereas

factual challenges refute the existence of jurisdiction notwithstanding a complaint's

allegations. Apex Digital, Inc. v. Sears Roebuck & Co., 572 F.3d 440, 443-44 (7th Cir. 2009).

For factual challenges, a court may look beyond a complaint's allegations and, if a defendant

presents evidence that calls into question a court's jurisdiction, then the “presumption of


and/or government documents. See, e.g., Bova v. U.S. Bank, N.A., 446 F.Supp.2d 926, 930 n. 2
(S. D. Ill. 2006).
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correctness that we accord to a complaint's allegations falls away,” and plaintiff bears the burden

to present evidence that a court has subject-matter jurisdiction. Id. (quoting Commodity Trend

Serv., Inc. v. Commodity Futures Trading Comm'n, 149 F.3d 679, 685 (7th Cir. 1998)).

       Meanwhile, under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a case

for failure to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). A motion

to dismiss pursuant to Rule 12(b)(6) tests the legal sufficiency of the complaint. Fed. R. Civ. P.

12(b)(6); Fries v. Helsper, 146 F.3d 452, 457 (7th Cir. 1998). To avoid dismissal under Rule

12(b)(6) for failure to state a claim, a complaint must contain a “short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). This requirement is

only satisfied if the complaint (1) describes the claim in sufficient detail to give the defendant

fair notice of what the claim is and the grounds upon which it rests and (2) plausibly suggests

that the plaintiff has a right to relief above a speculative level. Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 563, 127 S. Ct. 1955, 1969 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678, 129

S. Ct. 1937, 1949 (2009). A claim will survive dismissal under Rule 12(b)(6) only if it “may be

supported by showing any set of facts consistent with the allegations in the complaint.”

Twombly, 550 U.S. at 563, 127 S. Ct. at 1969. Although detailed factual allegations are not

required, a plaintiff must provide the grounds of his entitlement to relief beyond mere “labels and

conclusions,” and “a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 555, 127 S. Ct. at 1965.             Again, the complaint must be factually

suggestive, so as to “raise a right to relief above the speculative level” and into the “realm of

plausible liability.” Twombly, 550 U.S. at 555, 557 n.5, 127 S. Ct. at 1965. A court accepts all

well-pleaded facts as true and draws all reasonable inferences in favor of the plaintiff. Archer v.

Chisolm, 870 F.3d 603, 612 (7th Cir. 2017). Thus, in order to survive, “a complaint must contain


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sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678, 129 S. Ct. at 1949. For a claim to have facial plausibility, a plaintiff must

plead facts that allow the court to draw the reasonable inference that the defendant is liable for

the alleged misconduct. Iqbal, 556 U.S. at 678, 129 S. Ct. at 1949. Thus, a plaintiff cannot

satisfy federal pleading requirements merely “by attaching bare legal conclusions to narrated facts

which fail to outline the bases of their claims.” Perkins v. Silverstein, 939 F.2d 463, 466-67 (7th

Cir. 1991). “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to survive a Rule 12(b)(6) motion to dismiss. Iqbal, 556 U.S. at 678.

Instead, “the pleader must show through the allegations that it is plausible, rather than merely

speculative, that he is entitled to relief.” INEOS Polymers, Inc. v. BASF Catalysts, 553 F.3d 491,

497 (7th Cir. 2009) (citations and quotations omitted).

        Ordinarily, when considering a Rule 12(b)(6) motion to dismiss, the Court may not

consider matters outside the pleadings unless it converts the motion to a motion for summary

judgment. See Fed. R. Civ. P. 12(d). There is an exception to this rule, however, when the

additional material is something of which the Court may take judicial notice. See Menominee

Indian Tribe of Wisc. v. Thompson, 161 F.3d 449, 456 (7th Cir. 1998). The Court may take

judicial notice of public records, such as administrative agency decisions and collective

bargaining agreements with local governments. See Opoka v. I.N.S., 94 F.3d 392, 394 (7th Cir.

1996) (taking judicial notice of relevant decision of administrative agency); see Minch v. City of

Chicago, 486 F.3d 294, 300, n.3 (7th Cir. 2007) (taking judicial notice of a collective bargaining

agreement formally adopted by the a local government). The court may take judicial notice of

such a public record without converting a motion to dismiss to a motion for summary

judgment. Menominee Indian Tribe of Wis. v. Thompson, 161 F.3d 449, 456 (7th Cir.



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1998) (“Judicial notice of historical documents, documents contained in the public record, and

reports of administrative bodies is proper.”).      Simply put, the fact that a party attaches

evidentiary materials outside the pleadings does not convert a motion to dismiss to a summary

judgment motion. Thompson v. Illinois Dept. of Prof'l Regulation, 300 F.3d 750, 754 (7th Cir.

2002). Furthermore, it is within the court's discretion to handle this motion as a straightforward

motion to dismiss, especially where early resolution of an issue would streamline the

case. Levenstein v. Salafsky, 164 F.3d 345, 347 (7th Cir. 1998).

       Meanwhile, Federal Rule of Civil Procedure 12(e) states that a “party may move for a

more definite statement of a pleading to which a responsive pleading is allowed but which is so

vague or ambiguous that the party cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e).

Motions for a more definite statement under Rule 12(e) are appropriate when a “pleading fails to

specify the allegations in a manner that provides sufficient notice.” Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 513–14, 122 S. Ct. 992 (2002).

       Finally, Federal Rule of Civil Procedure 12(e) states that a “party may move for a more

definite statement of a pleading to which a responsive pleading is allowed but which is so vague

or ambiguous that the party cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e).

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specify the allegations in a manner that provides sufficient notice.” Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 513–14, 122 S. Ct. 992 (2002).




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                                          ARGUMENT

I.      Plaintiffs’ Amended Complaint should be dismissed with prejudice for failure to
        state a cause of action under Federal Rule of Civil Procedure 12(b)(6) because the
        named Defendant is not a separate legal entity with the capacity to be sued.

        While mistakenly identifying a non-existent “St. Clair County Emergency Management

Administration” as the sole Defendant in this matter, Plaintiffs’ Amended Complaint is

apparently directed at the St. Clair County Emergency Management Agency, a department

within the County of St. Clair. (www.co.st-clair.il.us/departments/emergency-management-

agency)2.   Indeed, Plaintiffs’ Amended Complaint expressly alleges that “Defendant is a

department of a subdivision of the state of Illinois”. (Doc. 5, ¶ 14). However, the law of the state

in which the district court sits governs the capacity of a governmental entity to sue or to be sued

(Fed. R. Civ. P. 17(b); Mayes v. Elrod, 470 F. Supp. 1188, 1192 (N.D. Ill. 1979)), and

subdivisions of Illinois counties, such as county departments, are generally not considered to be

separate legal entities, and therefore cannot be sued. Ryder v. Cook County Department of Public

Health, 2023 WL 2745679 (N. D. Ill. 2023), citing Khan v. Cook County Department of

Highways, Case No. 93 C 1375, 1994 WL 523703 at *2, 1994 U.S. Dist. LEXIS 13481 at *4,

(N.D. Ill. Sep. 15, 1994) (citing Mayes v. Elrod, 470 F. Supp. 1188, 1192 (N.D. Ill. 1979)).

Rather, under Section 5-1001 of the Illinois Counties Code, the County of St. Clair is a “body

politic and corporate” that “may sue and be sued, plead and may be impleaded, defend and be

defended against in any court having jurisdiction of the subject-matter.” 55 ILCS 5/5-1001.

Therefore, because, “[b]y definition, a claim against an entity that cannot be sued fails to state a




2
 The Court may take judicial notice of information from government websites. Denius v. Dunlap,
330 F.3d 919, 926 (7th Cir. 2003); Laborer’s Pension Fund v. Blackmore Sewer Constr., Inc.,
298 F.3d 600, 607 (7th Cir. 2002); Fed. R. Evid. 201(b).
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claim” (Wilkins vs. St. Joseph County, 2016 WL 1460323 (N.D. Ind. 2016))3, Plaintiffs’

Amended Complaint should be dismissed with prejudice pursuant to Federal Rule of Civil

Procedure 12(b)(6).

II.     Alternatively, Count I of Plaintiffs’ Amended Complaint should be dismissed for
        failure to state a claim upon which relief can be granted under §207 of the FLSA,
        and/or Plaintiffs should be required to provide a more definite statement.

        Count I of Plaintiffs’ Amended Complaint is expressly based on the allegation that “[t]he

FLSA requires each covered employer, including Defendant, to compensate all non-exempt

employees at a rate of not less than one and one-half the regular rate of pay for work performed

in excess of forty hours in a work week”, citing §207(a)(1) of the FLSA, which provides that

“[e]xcept as otherwise provided in this section, no employer shall employ any of his employees

who in any workweek is engaged in commerce or in the production of goods for commerce, or is

employed in an enterprise engaged in commerce or in the production of goods for commerce, for

a workweek longer than forty hours unless such employee receives compensation for his

employment in excess of the hours above specified at a rate not less than one and one-half times

the regular rate at which he is employed.” 29 U.S.C. §207(a)(1). However, Count I of Plaintiffs’

Amended Complaint fails to acknowledge that §207(b)(1), (2) otherwise provides a different

requirement for employment pursuant to a collective bargaining agreement:


3
  As set forth in Leibovitch v. Islamic Republican of Iran, et al., 188 F.Supp.3d 734 (N. D. Ill.
2016): “The ability to sue or be sued pertains to a party's capacity, as outlined in Federal Rule of
Civil Procedure 17(b). This is not the same as personal jurisdiction. ‘Capacity to sue or be sued
does not mean a defendant's amenability to suit in a particular judicial district, which is a matter
of the existence or nonexistence of personal jurisdiction over a defendant there.’ LaSalle Nat'l
Bank v. Kearon, No. 98 C 5099, 1998 WL 901685, at *1 (N.D.Ill. Dec. 17, 1998) (internal
quotation marks omitted): see also Swaim v. Moltan Co., 73 F.3d 711, 716–18 (7th
Cir.1996) (noting distinctions between lack of capacity and personal jurisdiction defenses).”
Nevertheless, if this Court considers capacity to be sued to relate to personal jurisdiction,
Defendant invokes Federal Rule of Civil Procedure 12(b)(2) as part of this dismissal motion to
the extent necessary under Federal Rule of Civil Procedure 12(b)(h).

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       “(b) No employer shall be deemed to have violated subsection (a) by employing
       any employee for a workweek in excess of that specified in such subsection
       without paying the compensation for overtime employment prescribed therein if
       such employee is so employed—

       (1) in pursuance of an agreement, made as a result of collective bargaining by
       representatives of employees certified as bona fide by the National Labor
       Relations Board, which provides that no employee shall be employed more than
       one thousand and forty hours during any period of twenty-six consecutive weeks;
       or

       (2) in pursuance of an agreement, made as a result of collective bargaining by
       representatives of employees certified as bona fide by the National Labor
       Relations Board, which provides that during a specified period of fifty-two
       consecutive weeks the employee shall be employed not more than two thousand
       two hundred and forty hours and shall be guaranteed not less than one thousand
       eight hundred and forty-hours (or not less than forty-six weeks at the normal
       number of hours worked per week, but not less than thirty hours per week) and
       not more than two thousand and eighty hours of employment for which he shall
       receive compensation for all hours guaranteed or worked at rates not less than
       those applicable under the agreement to the work performed and for all hours in
       excess of the guaranty which are also in excess of the maximum workweek
       applicable to such employee under subsection (a) or two thousand and eighty in
       such period at rates not less than one and one-half times the regular rate at which
       he is employed;…” 29 U.S. C. §207(b)(1), (2).

       Notably, as full-time telecommunicators, Plaintiffs are members of a bargaining unit

exclusively represented by the Illinois Fraternal Order of Police Labor Council. Indeed, on

January 30, 2006, the Illinois Labor Relations Board (ILRB) issued a Certification of

Representative in ILRB Case No. S-RC-06-086, specifically certifying the Illinois Fraternal

Order of Policy Labor Council as the exclusive representative, for the purpose of collective

bargaining with respect to rates of pay, wages, hours of employment, or other conditions of

employment, of the bargaining unit including “[a]ll full-time telecommunicators and calltakers

employed by the County of St. Clair (CENCOM).” (See Exhibit A). On December 20, 2006, the

National Labor Relations Board (NLRB) issued a Certification of Representative as Bona Fide

Under Section 7(b) of the Fair Labor Standards Act of 1938, specifically certifying the Illinois



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Fraternal Order of Police Labor Council as a bona fide representative of the employees of the

County of St. Clair (CENCOM) in the unit including “[a]ll full-time telecommunicators and

calltakers employed by the County of St. Clair (CENCOM).” (See Exhibit B). During the “three

(3) years prior to commencement of this action to the present” as referenced in ¶ 16 of Plaintiffs’

Amended Complaint, the County of St. Clair and the Illinois Fraternal Order of Police Labor

Council were parties to a 2019-2021 Collective Bargaining Agreement (see Exhibit C) and a

2022-2024 Collective Bargaining Agreement (see Exhibit D), pertinently providing as follows

concerning the work period for bargaining unit members:

                          ARTICLE 4 - HOURS AND OVERTIME

       Section 4.01 - Work Period

       Hours of Work: The Employer and Union agree that the Employer shall retain the
       right to establish the scheduled workday. At no time will an employee be
       regularly scheduled to work consecutive shifts. The Employer may not split an
       employee’s shift.

       The normal work period for employees covered by this Agreement shall be
       defined as eighty (80) hours in a fourteen (14) day work period beginning on a
       Sunday, for those employees working twelve (12) hour shifts, and forty (40) hours
       per week, starting on Sunday for those employees working an eight (8) hour shift.

       The Employer shall retain the right to make a change in the scheduling during the
       term of this Agreement with sixty (60) days notice to the Union and the
       employees, however, the sixty (60) days notice does not apply to manpower
       issues or needs to temporarily fill shift.

       Overtime compensation shall be given in accordance with the Fair Labor
       Standards Act. Hours worked in excess of the above defined work periods shall be
       compensated at the premium compensation rate.

       The Employer will allow employees to trade shifts within the same pay period
       where practicable, as long as prior notice is provided as per current practice.”

Clearly, concerning Plaintiffs’ initial contention, because “[t]he normal work period for

employees covered by this Agreement shall be defined as eighty (80) hours in a fourteen (14)



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day work period beginning on a Sunday, for those employees working twelve (12) hour shifts”

under Section 4.01 of the Collective Bargaining Agreements was “made as a result of collective

bargaining by representatives of employees certified as bona fide by the National Labor

Relations Board” within the meaning of § 207(b) of the FLSA, Defendant cannot be deemed to

have violated § 207(a)(1) of the FLSA. Therefore, such contention fails to state a claim upon

which relief can be granted.

       Similarly, Plaintiffs’ latter contention fails to state a claim upon which relief can be

granted. Indeed, same consists of only conclusory allegations that are both speculative and

insufficient to satisfy notice-pleading requirements as lacking identification of who “deducted a

half-hour from Plaintiffs and similarly situated employees’ hours worked, even when they had

not been able to take a half-hour break”, and when, and who and when “Plaintiffs requested that

Defendant correct these inaccurate deductions”. See Karnes v. Bank of Whittington/Whittington

Bancorp, Inc., 2021 WL 1208900 (S. D. Ill. 2021) (Under the notice-pleading requirements of

Federal Rule of Civil Procedure 8, “[a] successful claim tends to explain the who, what, when,

where, why and how of each alleged violation.”).

       Therefore, Count I of Plaintiffs’ Amended Complaint should be dismissed for failure to

state a claim upon which relief can be granted under §207 of the FLSA or, if the Court finds that

Plaintiffs have properly stated a claim, Plaintiffs should still be required to provide a more

definite statement pursuant to Federal Rule of Civil Procedure Rule 12(e).

III.   Alternatively, Count II of Plaintiffs’ Amended Complaint should be dismissed for
       lack of subject matter jurisdiction because Plaintiffs failed to exhaust contractual
       remedies set forth in the applicable Collective Bargaining Agreement.

       Again, Count II of Plaintiffs’ Amended Complaint is based upon a claimed violation of §

4a(1) of the IMWL related to alleged unpaid overtime premium pay. As set forth in Section II



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above, Plaintiffs are members of a bargaining unit exclusively represented by the Illinois

Fraternal Order of Police Labor Council and, as such, are subject to a 2022-2024 Collective

Bargaining Agreement pertinently providing for the payment of wages, including overtime, as

well as a grievance and arbitration procedure for disputes arising from such Collective

Bargaining Agreement (see Exhibit D). However, Plaintiffs did not exhaust such grievance and

arbitration procedures for their claims.

        Under Illinois law, when a plaintiff’s wage claim arises from a collective bargaining

agreement, the plaintiff must first exhaust the grievance procedure before bringing suit in court

under state law. Kostecki v. Dominick’s Finer Foods, Inc. of Illinois, 361 Ill.App.3d 362, 370,

836 N.E.2d 837 (1st Dist. 2005). Similar to the present case, Kostecki involved alleged violations

of § 4a of the IMWL, and the court affirmed dismissal of such claims, holding that, “[w]here a

collective bargaining agreement adequately addresses an aspect of employee compensation or

other working conditions, a state statute will defer to the collective bargaining agreement’s

grievance procedures.” Id., citing Gelb v. Air Con Refrigeration & Heating, Inc., 356 Ill.App.3d

686, 826 N.E.2d 391 (1st Dist. 2005). In other words, when a plaintiff’s wage claim is based

upon a collective bargaining agreement, plaintiff must exhaust contractual remedies under the

grievance procedure set forth in that collective bargaining agreement. See Glasper v. Scrub, Inc.,

2021 IL App (1st) 200764 (1st Dist. 2021). Therefore, because Plaintiffs failed to exhaust the

contractual remedies set forth in the applicable Collective Bargaining Agreement, Count II of

Plaintiffs’ Amended Complaint should be dismissed for lack of subject matter jurisdiction under

Federal Rule of Civil Procedure 12(b)(1).




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IV.    Alternatively, Count II of Plaintiffs’ Amended Complaint should be dismissed for
       failure to state a claim upon which relief can be granted under § 4a of the IMWL
       and/or Plaintiffs should be required to provide a more definite statement.

       Count II of Plaintiffs’ Amended Complaint is expressly based on the allegation that

“[t]he IMWL requires each covered employer, including Defendant, to compensate all non-

exempt employees at a rate of not less than one and one-half the regular rate of pay for work

performed in excess of forty hours in a work week”, citing § 4a(1) of the IMWL, which provides

that, “[e]xcept as otherwise provided in this Section, no employer shall employ any of his

employees for a workweek of more than 40 hours unless such employee receives compensation

for his employment in excess of the hours above specified at a rate not less than 1 1/2 times the

regular rate at which he is employed.” 820 ILCS 105/4a(1). However, Count II of Plaintiffs’

Amended Complaint fails to acknowledge that § 4a(2)(J) otherwise provides a different

requirement for employment pursuant to a collective bargaining agreement:

       “(2) The provisions of subsection (1) of this Section are not applicable to:

                                              ***

       J. Any employee who is a member of a bargaining unit recognized by the Illinois
       Labor Relations Board and whose union has contractually agreed to an alternate
       shift schedule as allowed by subsection (b) of Section 7 of the Fair Labor
       Standards Act of 1938.” 820 ILCS 105/4a(2)(J).

       Notably, as full-time telecommunicators, Plaintiffs are members of a bargaining unit

exclusively represented by the Illinois Fraternal Order of Police Labor Council. Indeed, on

January 30, 2006, the ILRB issued a Certification of Representative in ILRB Case No. S-RC-06-

086, specifically certifying the Illinois Fraternal Order of Policy Labor Council as the exclusive

representative, for the purpose of collective bargaining with respect to rates of pay, wages, hours

of employment, or other conditions of employment, of the bargaining unit including “[a]ll full-

time telecommunicators and calltakers employed by the County of St. Clair (CENCOM).” (See

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Exhibit A). On December 20, 2006, the NLRB issued a Certification of Representative as Bona

Fide Under Section 7(b) of the Fair Labor Standards Act of 1938, specifically certifying the

Illinois Fraternal Order of Police Labor Council as a bona fide representative of the employees of

the County of St. Clair (CENCOM) in the unit including “[a]ll full-time telecommunicators and

calltakers employed by the County of St. Clair (CENCOM).” (See Exhibit B). During the “three

(3) years prior to commencement of this action to the present” as referenced in ¶ 16 of Plaintiffs’

Amended Complaint, the County of St. Clair and the Illinois Fraternal Order of Police Labor

Council were parties to a 2019-2021 Collective Bargaining Agreement (see Exhibit C) and a

2022-2024 Collective Bargaining Agreement (see Exhibit D), pertinently providing as follows

concerning the work period for bargaining unit members:

                          ARTICLE 4 - HOURS AND OVERTIME

       Section 4.01 - Work Period

       Hours of Work: The Employer and Union agree that the Employer shall retain the
       right to establish the scheduled workday. At no time will an employee be
       regularly scheduled to work consecutive shifts. The Employer may not split an
       employee’s shift.

       The normal work period for employees covered by this Agreement shall be
       defined as eighty (80) hours in a fourteen (14) day work period beginning on a
       Sunday, for those employees working twelve (12) hour shifts, and forty (40) hours
       per week, starting on Sunday for those employees working an eight (8) hour shift.

       The Employer shall retain the right to make a change in the scheduling during the
       term of this Agreement with sixty (60) days notice to the Union and the
       employees, however, the sixty (60) days notice does not apply to manpower
       issues or needs to temporarily fill shift.

       Overtime compensation shall be given in accordance with the Fair Labor
       Standards Act. Hours worked in excess of the above defined work periods shall be
       compensated at the premium compensation rate.

       The Employer will allow employees to trade shifts within the same pay period
       where practicable, as long as prior notice is provided as per current practice.”



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Clearly, because Plaintiffs are “member[s] of a bargaining unit recognized by the Illinois Labor

Relations Board and whose union has contractually agreed to an alternate shift schedule as

allowed by subsection (b) of Section 7 of the Fair Labor Standards Act of 1938” within the

meaning of § 4a(2)(J) of the IMWL, Defendant cannot be deemed to have violated § 4a(1) of the

IMWL. Therefore, such contention fails to state a claim upon which relief can be granted.

       Similarly, Plaintiffs’ latter contention fails to state a claim upon which relief can be

granted. Indeed, same consists of only conclusory allegations that are both speculative and

insufficient to satisfy notice-pleading requirements as lacking identification of who “deducted a

half-hour from Plaintiffs and similarly situated employees’ hours worked, even when they had

not been able to take a half-hour break”, and when, and who and when “Plaintiffs requested that

Defendant correct these inaccurate deductions”. See Karnes v. Bank of Whittington/Whittington

Bancorp, Inc., 2021 WL 1208900 (S. D. Ill. 2021) (Under the notice-pleading requirements of

Federal Rule of Civil Procedure 8, “[a] successful claim tends to explain the who, what, when,

where, why and how of each alleged violation.”).

       Therefore, Count II of Plaintiffs’ Amended Complaint should be dismissed for failure to

state a claim upon which relief can be granted under § 4a of the IMWL or, if the Court finds that

Plaintiffs have properly stated a claim, Plaintiffs should still be required to provide a more

definite statement pursuant to Federal Rule of Civil Procedure Rule 12(e).

                                        CONCLUSION

WHEREFORE, Defendant, St. Clair County Emergency Management Administration,

respectfully request that this Court dismiss Plaintiffs’ Amended Complaint with prejudice

pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(2) and/or 12(b)(6), and/or require




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Plaintiffs to provide a more definite statement pursuant to Federal Rule of Civil Procedure 12(e),

and order such other relief as this Court deems just and proper.



                                             BECKER, HOERNER & YSURSA, P.C.

                                             By:     s/ Garrett P. Hoerner
                                                     Garrett P. Hoerner
                                                     No. 06243119

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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

BRADLEY MILLER, KAYLA      )
KILPATRICK and BLAKE BUMANN,
                           )
                           )
      Plaintiff,           )
                           )
vs.                        )                          Case No. 3:23-cv-02597-JPG
                           )
ST. CLAIR COUNTY EMERGENCY )
MANAGEMENT ADMINISTRATION, )
                           )
      Defendant.           )                          JURY TRIAL DEMANDED

                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 20th day of October, 2023, I electronically filed this document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all attorneys of record.

                                               BECKER, HOERNER & YSURSA, P.C.

                                               By:    s/ Garrett P. Hoerner
                                                      Garrett P. Hoerner
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